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                  UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION
__________________________________________
                                           )
In re:                                     )     Chapter 11
                                           )
USA GYMNASTICS,                            )     Case No. 18-09108-RLM-11
                                           )
                  Debtor.                  )
__________________________________________)
                                           )
USA GYMNASTICS,                            )
                                           )
                  Plaintiff,               )
                                           )
v.                                         )     Adv. Case No. 19-50012
                                           )
ACE AMERICAN INSURANCE                     )
COMPANY f/k/a CIGNA INSURANCE              )
COMPANY, GREAT AMERICAN                    )
ASSURANCE COMPANY, LIBERTY                 )
INSURANCE UNDERWRITERS INC.,               )
NATIONAL CASUALTY COMPANY,                 )
RSUI INDEMNITY COMPANY, TIG                )
INSURANCE COMPANY, VIRGINIA                )
SURETY COMPANY, INC. f/k/a                 )
COMBINED SPECIALTY INSURANCE               )
COMPANY, WESTERN WORLD                     )
INSURANCE COMPANY, ENDURANCE               )
AMERICAN INSURANCE COMPANY,                )
AMERICAN INTERNATIONAL GROUP,              )
INC., AMERICAN HOME ASSURANCE              )
COMPANY, AND DOE INSURERS,                 )
                                           )
                  Defendants.              )
__________________________________________)


              TIG INSURANCE COMPANY’S CROSS-MOTION FOR
                      PARTIAL SUMMARY JUDGMENT

       Under Federal Rule of Civil Procedure 56(a), Federal Rules of Bankruptcy Procedure

7056, and S.D. Ind. B-7056-1(a), Defendant TIG Insurance Company (“TIG”) cross-moves for

partial summary judgment against Debtor and adversary Plaintiff USA Gymnastics (“USAG”)
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in response to USAG’s Motion for Partial Summary Judgment against TIG dated August 7,

2019. See Dkt. No. 173. In support of its cross-motion, TIG states as follows:

       1.      USAG has been sued by several hundred former and current athletes claiming

sexual abuse or molestation by former USAG athletic trainer/physician Dr. Larry Nassar and

several other individuals allegedly affiliated with USAG (the “Sexual Abuse Claims”).

       2.      USAG seeks coverage for the Sexual Abuse Claims from TIG under several

policies of insurance, including five policies at issue in the pending motions that contain abuse

or molestation exclusions expressly precluding coverage for claims arising from sexual abuse.

       3.      In its motion, USAG dissects the language of the policies in an effort to avoid

application of the abuse or molestation exclusions and to create coverage that was not

bargained for and purchased by USAG.

       4.      As set forth in detail in the accompanying memorandum of law, USAG’s

interpretation of the TIG policies is contrary to the plain and ordinary meaning of the policy

language. USAG asks this Court to accept unreasonable interpretations that would rewrite the

terms of the contract and/or prematurely decide the scope of coverage without necessary

discovery.

       5.      The abuse or molestation exclusions have been deemed unambiguous by courts

in Indiana and throughout the country and must be enforced as written.



       THEREFORE, TIG respectfully requests that this Court deny USAG’s motion for

partial summary judgment in its entirety and grant TIG’s cross-motion for partial summary

judgment, declaring that: 1) the Abuse or Molestation Exclusion in the 2001 Primary Policy

applies to Coverage D, Legal Liability to Participants; and 2) the Molestation Exclusion in the

1996 Excess Policy applies to bodily injury.
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       Alternatively, if the Court is not inclined to grant TIG’s cross-motion, genuine issues

of material fact exist, which require discovery and preclude the entry of summary judgment in

favor of USAG.



Dated: September 5, 2019                    KENNEDYS CMK LLP

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                               CERTIFICATE OF SERVICE

        I hereby certify that on September 5, 2019, a copy of the foregoing was filed
electronically. Notice of this filing will be sent to the following parties the Court’s Electronic
Case Filing System. Parties may access this filing through the Court’s system.

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